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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

FREESTATE JUSTICE, INC.,                          *

        Plaintiffs                                *

v.                                                *             Civ. No. JKB-22-2410

JEREMY LAMASTER,                                  *

        Defendant.                                *

                            TEMPORARY RESTRAINING ORDER

        Plaintiff FreeState Justice, Inc. (“FreeState”) having moved for a temporary restraining

order, and the Court having considered FreeState’s papers in support of the motion; and

        IT APPEARING to the Court that there is a likelihood that immediate and irreparable

injury, loss, and/or damage will result to FreeState’s business interests, including, but not limited

to, its client, donor, and grant funding relations, if LaMaster is not temporarily restrained, as set

forth below, before a full adversary hearing can be held; and

        IT APPEARING to the Court that the likelihood of irreparable harm to FreeState if the

requested injunctive relief is denied outweighs the likelihood of harm to LaMaster if the requested

injunctive relief is granted; and

        IT APPEARING to the Court that FreeState has established a likelihood of success on the

merits of its claims set forth in its Verified Complaint; and

        IT APPEARING to the Court that the public interest would be served by the requested

injunctive relief;

        NOW THEREFORE, it is, this 21st day of September, 2022, hereby ORDERED, for the

reasons stated herein and in the accompanying Letter Order issued on this same day, that
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1.      Pursuant to Rule 65 of the Federal Rules of Civil Procedure, for a period of fourteen

        (14) days, LaMaster is hereby TEMPORARILY ENJOINED AND RESTRAINED

        during the pendency of this Order, and any extensions thereto, as follows:

        a. Non-Access, Non-Disclosure and Non-Use of Trade Secret Information:

           LaMaster is prohibited from accessing, disclosing and/or using FreeState’s

           donor and funding streams, client list, or mailing list;

        b. Return of Records and Other Property, Including Passwords: LaMaster is

           ordered to

                i. Immediately stop using FreeState property and IT assets;

               ii. Return immediately to FreeState their FreeState computer and any and

                   all records (whether on paper, computer disks, online or cloud storage,

                   or in some other form) and copies of records pertaining to all user names

                   and passwords to FreeState’s email and other IT assets;

              iii. Immediately restore all administrative access to FreeState’s IT assets

                   that they revoked from FreeState users without authorization;

        c. Preservation: LaMaster is ordered to preserve and not alter the contents of

           FreeState’s laptop in advance of return to FreeState;




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2.      This Court SHALL RETAIN jurisdiction to enforce the terms of this Order, and

        any party affected by this Order may apply for a modification or dissolution of this

        Order on at least two (2) days’ advance notice to the party that obtained the Order;

3.      A hearing on the motion for a temporary restraining order SHALL BE HELD on

        Monday, September 26 at 11:00 am at the Baltimore Courthouse, 101 W. Lombard

        Street, Baltimore, Maryland 21201; and

4.      Counsel for FreeState SHALL SEND a copy of this Temporary Restraining Order

        and the related Letter Order issued this same date via overnight mail to LaMaster

        at their last known address and via electronic mail to their last known e-mail

        address.




                                                     Deborah L. Boardman
                                                     United States District Judge




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